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     In The United States Court of Federal Claims
                                        No. 11-867 C

                                 (Filed: December 16, 2011)
                                         __________

  BOSTON HARBOR DEVELOPMENT
  PARTNERS, LLC.,

                               Plaintiff,

                        v.

  THE UNITED STATES,

                               Defendant.

                                            __________

                                             ORDER
                                            __________

        On December 15, 2011, the court granted Emerald Corporate Center, LLC’s motion to
intervene in this case as defendant-intervenor. All briefing deadlines applicable to defendant
established in the court’s scheduling order of December 9, 2011, shall apply likewise to
defendant-intervenor.

       IT IS SO ORDERED.




                                                    s/ Francis M. Allegra
                                                    Francis M. Allegra
                                                    Judge
